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                    EXHIBIT B
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN

                           CASE NO. 2:23-cv-11718-RJW-APP


 YAACOV APELBAUM,
 and XRVISION, LTD.,

              Plaintiff,

 v.

 STEFANIE LAMBERT, THE
 LAW OFFICE OF STEFANIE
 L. LAMBERT, PLLC, and
 BILL BACHENBERG,

              Defendants.
                                       /


              DEFENDANTS STEFANIE LAMBERT AND
         THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC’S
        ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT

       The Defendants, STEFANIE LAMBERT, THE                                      LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, by and through their undersigned counsel, file

 this, their Answer and Affirmative Defenses to the Plaintiffs, YAACOV

 APELBAUM and XRVISION, LTD’s Complaint and state as follows:

       1.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, are without knowledge or information sufficient

 to form a belief as to the truth of the allegations set forth in paragraph 1.



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                           270 SW NATURA AVENUE, DEERFIELD BEACH, FLORIDA 33441
                                        TELEPHONE: (561) 232-2222
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       2.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, are without knowledge or information sufficient

 to form a belief as to the truth of the allegations set forth in paragraph 2.

       3.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, are without knowledge or information sufficient

 to form a belief as to the truth of the allegations set forth in paragraph 3.

       4.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, are without knowledge or information sufficient

 to form a belief as to the truth of the allegations set forth in paragraph 4.

       5.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, are without knowledge or information sufficient

 to form a belief as to the truth of the allegations set forth in paragraph 5.

       6.     Admitted.

       7.     Admitted to the extent that The Law Office of Stefanie L. Lambert,

 PLLC, is a Michigan professional limited liability company. Denied in all other

 respects.

       8.     Admitted.

       9.     Denied.

       10.    Denied.

       11.    Denied.

                                                   2
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       12.   Denied.

       13.   Denied.

       14.   Denied.

       15.   Denied.

       16.   Denied.

       17.   Denied.

       18.   Denied.

       19.   Denied.

       20.   Denied.

       21.   Denied.

       22.   Denied.

       23.   Denied.

       24.   Denied.

       25.   Denied.

       26.   Denied.

       27.   Denied

       28.   Denied

       29.   Denied

       30.   Denied

       31.   Denied

                                                3
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       32.   Denied

       33.   Denied

       34.   Denied

       35.   Denied

       36.   Denied

       37.   Denied.

       38.   Denied.

       39.   Denied.

       40.   Denied.

       41.   Denied.

       42.   Denied.

       43.   Denied.

       44.   Denied.

       45.   Denied.

       46.   Denied.

       47.   Denied.

       48.   Denied.

       49.   Denied.

       50.   Denied.

       51.   Denied.

                                                4
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       52.   Denied.

       53.   Denied.

       54.   Denied.

       55.   Denied.

       56.   Denied.

       57.   Denied.

       58.   Denied.

       59.   Denied.

       60.   Denied.

       61.   Denied.

       62.   Denied.

                 Count 1 – Libel With Common Law Malice
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       63.   No Response Required.

       64.   Denied.

       65.   Denied.

       66.   Denied.

       67.   Denied.

       68.   Denied.

       69.   Denied.


                                                5
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       70.   Denied.

       71.   Denied.

       72.   Denied.

       73.   Denied.

       74.   Denied.

       75.   Denied.

       76.   Denied.

       77.   Denied.

       78.   Denied.

                     Count 2 – Libel With Actual Malice
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       79.   No Response Required.

       80.   Denied.

       81.   Denied.

       82.   Denied.

       83.   Denied.

       84.   Denied.

       85.   Denied.

       86.   Denied.

       87.   Denied.


                                                6
                                    THE TICKTIN LAW GROUP
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       88.   Denied.

       89.   Denied.

       90.   Denied.

       91.   Denied.

       92.   Denied.

       93.   Denied.

       94.   Denied.

       95.   Denied.

               Count 3 – Slander With Common Law Malice
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       96.   No Response Required.

       97.   Denied.

       98.   Denied.

       99.   Denied.

       100. Denied.

       101. Denied.

       102. Denied.

       103. Denied.

       104. Denied.

       105. Denied.


                                                7
                                    THE TICKTIN LAW GROUP
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       106. Denied.

       107. Denied.

       108. Denied.

       109. Denied.

       110. Denied.

                 Count 4 – Slander With Actual Law Malice
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       111. No Response Required.

       112. Denied.

       113. Denied.

       114. Denied.

       115. Denied.

       116. Denied.

       117. Denied.

       118. Denied.

       119. Denied.

       120. Denied.

       121. Denied.

       122. Denied.

       123. Denied.


                                               8
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       124. Denied.

       125. Denied.

       126. Denied.

       127. Denied.

       128. Denied.

                          Count 5 – Breach of Contract
   Brought by Plaintiffs Against Defendants Lambert, PLLC, and Bachenberg

       129. No Response Required.

       130. Denied.

       131. Denied.

       132. Denied.

       133. Denied.

       134. Denied.

       135. Denied.

       136. Denied.

                       Count 6 – Tortious Interference
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       137. No Response Required.

       138. Denied.

       139. Denied.

       140. Denied.

                                                9
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       141. Denied.

       142. Denied.

       143. Denied.

                        Count 7 – Promissory Estoppel
         Brought by Plaintiffs Against Defendants Lambert, and PLLC

       144. No Response Required.

       145. Denied.

       146. Denied.

       147. Denied.

       148. Denied.

                        Count 8 – Promissory Estoppel
              Brought by Plaintiffs Against Defendant Bachenberg

       149. No Response Required.

       150. Denied.

       151. Denied.

       152. Denied.

       153. Denied.

               Count 9 – Quantum Meruit / Unjust Enrichment
              Brought by Plaintiffs Against Defendant Bachenberg

       154. No Response Required.

       155. Denied.


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       156. Denied.

       157. Denied.

       158. Denied.

       159. Denied.

       160. Denied.

       161. Denied.

       162. Denied.

              Count 10 – Quantum Meruit / Unjust Enrichment
         Brought by Plaintiffs Against Defendants Lambert and PLLC

       163. No Response Required.

       164. Denied.

       165. Denied.

       166. Denied.

       167. Denied.

       168. Denied.

       169. Denied.

       170. Denied.

       171. Denied.




                                               11
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                          Affirmative Defenses to Count 1

 Substantial Truth

       1.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 1 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made were either true or substantially true.

 Failure to Provide Notice of Retraction

       2.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 1, that the Plaintiffs failed to provide notice to the Defendants to publish a

 retraction or allow a reasonable time to do so. Therefore, the Plaintiffs are prohibited

 from recovery of exemplary or punitive damages pursuant to Michigan Statute

 600.2911 (2)(b).

 Qualified Privilege

       3.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to Count

 1 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made in good faith, related to matters of public importance, namely the 2020

                                                 12
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 presidential election voting system, made during the time that there was a dispute

 relating to the 2020 Presidential Election, where any such statements themselves

 were limited to a matter of public interest, namely the 2020 Presidential Election,

 and those statements were directed at the proper parties to whom such statements

 should be addressed, state legislatures and state senators. Hence, as alleged by the

 Plaintiffs, the Defendants STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, statements are privileged communications for

 which a qualified privilege arises.

 Fair Comment

       4.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE

 OF STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense

 to Count 1 that any statements made by the Defendants, STEFANIE LAMBERT

 and THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the

 Plaintiffs were made were made in relation to a matter of legitimate public interest,

 the 2020 Presidental Election, and made without any actual malice, and if

 factually incorrect, were not made with knowledge of their falsity or reckless

 disregard for the truth.

 Noerr–Pennington Doctrine

       5.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their Fifth Affirmative Defense to

                                                    13
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 Count 1, that any and all alleged libel, as claimed by the Plaintiffs, involve activities

 by the Defendants, STEFANIE LAMBERT and THE                                     LAW OFFICE OF

 STEFANIE L.        LAMBERT, PLLC, directed towards influencing government

 actions. Therefore, the Defendants, STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC, are immune to liability for such

 alleged torts pursuant to the Noerr–Pennington Doctrine as such allegations relate

 to influencing decision-making by government bodies.

        6.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to

 Count 1 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

        7.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to all

 counts subsequent to Count 1 should be dismissed for failure to plead a cause of

 action pursuant to Rule 12(b)(6) F.R.Civ.P. as the pleading is a Shotgun pleading

 where the allegations of each count are incorporated in the subsequent counts.

        8.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their eighth Affirmative Defense to

 Count 1 Plaintiff’s claims are barred by the Statute of Limitations.

                                                  14
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       9.     The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their ninth Affirmative Defense to

 Count 1 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 2

 Substantial Truth

       10.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 2 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made were substantially true.

 Failure to Provide Notice of Retraction

       11.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 2, that the Plaintiffs failed to provide notice to the Defendants to publish a

 retraction or allow a reasonable time to do so. Therefore, the Plaintiffs are prohibited

 from recovery of exemplary or punitive damages pursuant to Michigan Statute

 600.2911 (2)(b).

 Qualified Privilege

       12.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

                                                  15
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 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to

 Count 2 that any statements made by the Defendants, STEFANIE LAMBERT and

 THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the

 Plaintiffs were made in good faith, related to matters of public importance, namely

 the 2020 presidential election voting system, made during the time that there was a

 dispute relating to the 2020 Presidential Election, where any such statements

 themselves were limited to a matter of public interest, namely the 2020 Presidential

 Election, and those statements were directed at the proper parties to whom such

 statements should be addressed, state legislatures and state senators. Hence, as

 alleged by the Plaintiffs, the Defendants STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L.                 LAMBERT, PLLC, statements are privileged

 communications for which a qualified privilege arises.

 Fair Comment

       13.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 2 that any statements made by the Defendants, STEFANIE LAMBERT and

 THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the

 Plaintiffs were made were made in relation to a matter of legitimate public interest,

 the 2020 Presidental Election, and made without any actual malice, and if factually

 incorrect, were not made with knowledge of their falsity or reckless disregard for the

                                                 16
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 truth.

 Noerr–Pennington Doctrine

          14.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their Fifth Affirmative Defense to

 Count 2, that any and all alleged libel, as claimed by the Plaintiffs, involve activities

 by the Defendants, STEFANIE LAMBERT and THE                                     LAW OFFICE OF

 STEFANIE L.        LAMBERT, PLLC, directed towards influencing government

 actions. Therefore, the Defendants, STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC, are immune to liability for such

 alleged torts pursuant to the Noerr–Pennington Doctrine as such allegations relate

 to influencing decision-making by government bodies.

          15.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to

 Count 2 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

          16.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to

 Count 2 that any recovery by Plaintiffs is barred by the Statute of Limitations

          17.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

                                                  17
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 STEFANIE L. LAMBERT, PLLC, claim as their eighth Affirmative Defense to

 Count 2 that the Plaintiff’s claims are barred by the doctrine of laches.

       18.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their ninth Affirmative Defense to

 Count 2 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 3

 Substantial Truth

       19.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 3 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made were substantially true.

 Failure to Provide Notice of Retraction

       20.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 3, that the Plaintiffs failed to provide notice to the Defendants to publish a

 retraction or allow a reasonable time to do so. Therefore, the Plaintiffs are prohibited

 from recovery of exemplary or punitive damages pursuant to Michigan Statute

 600.2911 (2)(b).

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 Qualified Privilege

       21.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to Count

 3 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made in good faith, related to matters of public importance, namely the 2020

 presidential election voting system, made during the time that there was a dispute

 relating to the 2020 Presidential Election, where any such statements themselves

 were limited to a matter of public interest, namely the 2020 Presidential Election,

 and those statements were directed at the proper parties to whom such statements

 should be addressed, state legislatures and state senators. Hence, as alleged by the

 Plaintiffs, the Defendants STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, statements are privileged communications for

 which a qualified privilege arises.

 Fair Comment

       22.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 3 that any statements made by the Defendants, STEFANIE LAMBERT and

 THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the

 Plaintiffs were made were made in relation to a matter of legitimate public interest,

                                                 19
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 the 2020 Presidental Election, and made without any actual malice, and if factually

 incorrect, were not made with knowledge of their falsity or reckless disregard for the

 truth.

 Noerr–Pennington Doctrine

          23.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their Fifth Affirmative Defense to

 Count 3, that any and all alleged slander, as claimed by the Plaintiffs, involve

 activities by the Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L.        LAMBERT, PLLC, directed towards influencing government

 actions. Therefore, the Defendants, STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC, are immune to liability for such

 alleged torts pursuant to the Noerr–Pennington Doctrine as such allegations relate

 to influencing decision-making by government bodies.

          24.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to

 Count 3 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

          25.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to

                                                  20
                                       THE TICKTIN LAW GROUP
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 Count 3 that any recovery by Plaintiffs is barred by the Statute of Limitations

       26.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their eigth Affirmative Defense to

 Count 3 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 4

 Substantial Truth

       27.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 4 that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made were substantially true.

 Failure to Provide Notice of Retraction

       28.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 4, that the Plaintiffs failed to provide notice to the Defendants to publish a

 retraction or allow a reasonable time to do so. Therefore, the Plaintiffs are prohibited

 from recovery of exemplary or punitive damages pursuant to Michigan Statute

 600.2911 (2)(b).



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 Qualified Privilege

       29.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to Count

 4, that any statements made by the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the Plaintiffs

 were made in good faith, related to matters of public importance, namely the 2020

 presidential election voting system, made during the time that there was a dispute

 relating to the 2020 Presidential Election, where any such statements themselves

 were limited to a matter of public interest, namely the 2020 Presidential Election,

 and those statements were directed at the proper parties to whom such statements

 should be addressed, state legislatures and state senators. Hence, as alleged by the

 Plaintiffs, the Defendants STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, statements are privileged communications for

 which a qualified privilege arises.

 Fair Comment

       30.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 4, that any statements made by the Defendants, STEFANIE LAMBERT and

 THE LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, as alleged by the

 Plaintiffs were made were made in relation to a matter of legitimate public interest,

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 the 2020 Presidental Election, and made without any actual malice, and if factually

 incorrect, were not made with knowledge of their falsity or reckless disregard for the

 truth.

 Noerr–Pennington Doctrine

          31.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their Fifth Affirmative Defense to

 Count 4, that any and all alleged slander, as claimed by the Plaintiffs, involve

 activities by the Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L.        LAMBERT, PLLC, directed towards influencing government

 actions. Therefore, the Defendants, STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC, are immune to liability for such

 alleged torts pursuant to the Noerr–Pennington Doctrine as such allegations relate

 to influencing decision-making by government bodies.

          32.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to

 Count 4 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

          33.   The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to

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 Count 4 that any recovery by Plaintiffs is barred by their own improper conduct or

 “unclean hands,” including conduct that caused or contributed to the damages

 Plaintiffs allege.

        34.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their eighth Affirmative Defense to

 Count 4 that the Plaintiff’s claims are barred by the Statute of Limitations

        35.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their ninth Affirmative Defense to

 Count 4 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 5

 Statute of Frauds

        36.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 5 that no signed written contract existed between the Defendants and the Plaintiffs.

 Illegality

        37.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 5, that the alleged contract as claimed by the Plaintiffs, is to perform an illegal

 act, and therefore unenforceable.

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        38.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to

 Count 5 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

        39.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 5 that any recovery by Plaintiffs is barred by barred by the Statute of

 Limitations

        40.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fifth Affirmative Defense to Count

 5 that the Plaintiff’s claims are barred by the doctrine of laches.

        41.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to Count

 5 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 6

 Illegality
        42.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count


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 6, that the alleged contract as claimed by the Plaintiffs, is to perform an illegal act,

 and therefore unenforceable.

 Fraud or Misrepresentation

       43.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 6, that the Plaintiffs fraudulently misrepresented their findings.

 Noerr–Pennington Doctrine

       44.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to

 Count 6, that any and all alleged tortious interference, as claimed by the Plaintiffs,

 involve activities by the Defendants, STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC, directed towards influencing

 government actions. Therefore, the Defendants, STEFANIE LAMBERT and THE

 LAW OFFICE OF STEFANIE L. LAMBERT, PLLC, are immune to liability for

 such alleged torts pursuant to the Noerr–Pennington Doctrine as such allegations

 relate to influencing decision-making by government bodies.

       45.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 6 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

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 the Plaintiffs’ alleged injuries.

        46.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fifth Affirmative Defense to Count

 6 that any recovery by Plaintiffs is barred barred by the Statute of Limitations

        47.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to Count

 6 that the Plaintiff’s claims are barred by the doctrine of laches.

        48.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to

 Count 6 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 7

 Statute of Frauds

        49.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 7 that no signed written contract existed between the Defendants and the Plaintiffs.

 Fraud or Misrepresentation

        50.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 7, that the Plaintiffs fraudulently misrepresented their findings.

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        51.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to

 Count 7 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

        52.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 7 that any recovery by Plaintiffs is barred by their own improper conduct or

 “unclean hands,” including conduct that caused or contributed to the damages

 Plaintiffs allege.

        53.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fifth Affirmative Defense to Count

 7 that the Plaintiff’s claims are barred by the Statute of Limitations.

        54.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to Count

 7 that the Plaintiff’s right to recovery, if any, must be offset by their failure to

 reasonably mitigate their alleged damages.

                           Affirmative Defenses to Count 10

 Fraud or Misrepresentation

        55.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

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 STEFANIE L. LAMBERT, PLLC, claim as their first Affirmative Defense to Count

 10, that the Plaintiffs fraudulently misrepresented their findings.

 Statute of Frauds

        56.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their second Affirmative Defense to

 Count 10 that no signed written contract existed between the Defendants and the

 Plaintiffs.

 Illegality

        57.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their third Affirmative Defense to

 Count 10, that the alleged agreement as claimed by the Plaintiffs, is to perform an

 illegal act, and therefore unenforceable.

        58.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fourth Affirmative Defense to

 Count 10 There is no causal connection between the Plaintiffs’ alleged injuries and

 damages and any conduct of Defendant, as the Defendant in no way contributed to

 the Plaintiffs’ alleged injuries.

        59.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their fifth Affirmative Defense to Count

 10 that any recovery by Plaintiffs is barred by their own improper conduct or

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 “unclean hands,” including conduct that caused or contributed to the damages

 Plaintiffs allege.

        60.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their sixth Affirmative Defense to Count

 10 that the Plaintiff’s claims are barred by the doctrine of laches.

        61.    The Defendants, STEFANIE LAMBERT and THE LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC, claim as their seventh Affirmative Defense to

 Count 10 that the Plaintiff’s right to recovery, if any, must be offset by their failure

 to reasonably mitigate their alleged damages.

        WHEREFORE, the Defendants STEFANIE LAMBERT and THE LAW

 OFFICE OF STEFANIE L. LAMBERT, PLLC respectfully requests that this

 Honorable Court enter an order of dismissal with prejudice of the Complaint filed as

 against Defendants STEFANIE LAMBERT and THE                                     LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC award the Defendants costs and attorneys’ fees

 so wrongfully suffered, and grant such further and other relief as this Honorable

 Court may deem just and proper.

                          DEMAND FOR TRIAL BY JURY

        The Defendants, STEFANIE LAMBERT and THE                                 LAW OFFICE OF

 STEFANIE L. LAMBERT, PLLC demand that this case be determined by a jury

 on all triable issues.

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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 1, 2025, the foregoing document was

 electronically filed with the Clerk of the Court using CM/ECF to serve on all counsel

 of record.



 /s/ David L. Perry II
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